Case 1:04-cr-10054-.]DT Document 22 Filed 06/06/05 Page 1 of 2 Page|D 25

F!I.ED
B“-~$LD.C_

IN THE UNITED STATES DISTR_ICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE 05 JUN ..6 m '
EASTERN DIvISION 1 39
UNITED sTATEs 0F AMERICA, §9§§1"[51;.01 _T_ROUO
Plaimiff, W D 9F TrSv` HSCLS%L
vs. No.04-10054-r
DALLls JEROME PRICE,
Defendant.

AMENDED QRDER CONTINU]NQ REPORT DATE,
TRIAL AND EXCLQQING DELAY

The government has moved for a continuance of the report date in this case which is set for
June 7, 2005, and the trial Which is currently set on June 13, 2005. Since counsel for the
government has oral argument scheduled before the Court of Appeals in Cincinnati on that date, that
motion is hereby granted.

The court finds that the unavailability of the govemment’s counsel and the government’s
need for continuity of counsel justify this continuance and the ends of justice served by the
continuance outweigh the best interests of the public and the defendant in a speedy trial.

Accordin l the trial is continued from June 13 2005 to Jul 5 2005 at 9:30 A.M The resulting

 

period of delay, from June 13, 2005, to July 5, 2005, is excluded pursuant to 18 U.S.C. §
3161(h)(8)(A). A new report date has been set for June 21, 2005, at 8:30 a.m.

rrls so 0RDERED. Q/VM 0 9 2 2

JA D. TODD
UN TATES DISTR_ICT JUD,GE

DATE U'M/ 5

 

Thls document entered on the docket sheet ln compliance
with nine 55 and/or az(b) mch on 15

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case l:04-CR-10054 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jackson7 TN 38301

J ames W. POWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

